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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


   ACQIS LLC,
   a Texas limited liability company,                 Civil Action No. 6:23-cv-00882

                          Plaintiff,
             v.
                                                      JURY TRIAL DEMANDED
   ADVANTECH CO., LTD., a Taiwanese
   corporation,

                          Defendant.


                            PLAINTIFF’S NOTICE OF RELATED CASES

         Pursuant to this District’s Amended Plan for Random and Direct Assignment of Cases in

Multi-Judge Divisions, Plaintiff ACQIS LLC, by its attorneys, hereby provides notice that the

above captioned action is related to the following pending cases:

         -       ACQIS LLC v. ASUSTeK Computer Inc., 6:20-cv-00966-ADA (W.D. Tex., filed
                 October 15, 2020) (Judge Alan D Albright), set for trial before Judge Albright
                 beginning on March 18, 2024.

         -       ACQIS LLC v. Hon Hai Precision Manufacturing Co., 6:23-cv-00264-ADA (W.D.
                 Tex., filed April 10, 2023) (Judge Alan D Albright).

         -       ACQIS LLC v. Quanta Computer, Inc., 6:23-cv-00265-ADA (W.D. Tex., filed April
                 10, 2023) (Judge Alan D Albright).

         -       ACQIS LLC v. Fujitsu Limited, 6:23-cv-00878 (W.D. Tex., filed December 22,
                 2023).

         -       ACQIS LLC v. Panasonic Holdings Corp. and Panasonic Corp. of North America,
                 6:23-cv-00880 (W.D. Tex., filed December 22, 2023).

         -       ACQIS LLC v. ZT Group Int’l, Inc. dba ZT Systems, 6:23-cv-00881 (W.D. Tex., filed
                 December 22, 2023).




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         -       ACQIS LLC v. Micro-Star International Co., Ltd.; MSI Computer (Shenzhen) Co., Ltd.;
                 and MSI Electronics (Kungshan) Co., Ltd., 6:23-cv-00883 (W.D. Tex., filed December
                 22, 2023).

         -       ACQIS LLC v. Cisco Systems, Inc., 6:23-cv-00884 (W.D. Tex., filed December 22,
                 2023).

         In addition, the above captioned action is related to the following cases that were previously

pending in this District, but are now concluded:

         -       ACQIS LLC v. MiTAC Computing Technology Corporation, 6:20-cv-00962-ADA
                 (W.D. Tex., filed October 15, 2020) (Judge Alan D Albright).

         -       ACQIS LLC v. Inventec Corporation, 6:20-cv-00965-ADA (W.D. Tex., filed October
                 15, 2020) (Judge Alan D Albright).

         -       ACQIS LLC v. Lenovo Grp. Ltd., 6:20-cv-00967-ADA (W.D. Tex., filed October 15,
                 2020) (Judge Alan D Albright).

         -       ACQIS LLC v. Wistron Corporation et al., 6:20-cv-00968-ADA (W.D. Tex., filed
                 October 15, 2020) (Judge Alan D Albright).

Dated: December 22, 2023.                 Respectfully submitted,

                                            By: /s/ Paige Arnette Amstutz
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                                                 Attorneys for Plaintiff ACQIS LLC




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                                 CERTIFICATE OF SERVICE

         Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on December 22, 2023, all counsel of record who have appeared in this case are being

served with a copy of the foregoing via the Court’s CM/ECF system.


                                             /s/ Paige Arnette Amstutz
                                             Paige Arnette Amstutz




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